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                         UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                    *                  CIVIL ACTION
CONSOLIDATION LITIGATION                        *
                                                *                  NO. 05-4182
PERTAINS TO:                                    *                  & Consol. Cases
(PALMER: Case No. 06-7540)                      *
                                                *                  SECTION “K”
                                                *                  MAG. (2)
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                                       JUDGMENT

       CONSIDERING THE FOREGOING Motion for Entry of Final Judgment;

       IT IS ORDERED that in conjunction with the Court’s prior ruling entered January 12,

2007, and considering this Court’s Orders on file herein,

       IT IS FURTHER ORDERED AND DECREED that the Court’s ruling entered January

12, 2007 is hereby entered as a final judgment pursuant to 28 U.S. C. 1291, or alternatively, Rule

54, F.R.C.P, and Aparicio, Walker & Seeling Inc. is dismissed from this action with prejudice.

       New Orleans, Louisiana this              day of ________________, 2007.



                                             _______________________________
                                             UNITED STATES DISTRICT JUDGE
